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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

STATE OF TEXAS,                                    )
GUN OWNERS OF AMERICA, INC.,                       )
GUN OWNERS FOUNDATION, and                         )
BRADY BROWN,                                       )
                                                   )     Case No. 6:23-cv-00013
   Plaintiffs,                                     )
                                                   )
       v.                                          )
                                                   )
BUREAU OF ALCOHOL, TOBACCO,                        )
FIREARMS AND EXPLOSIVES, UNITED                    )
STATES DEPARTMENT OF JUSTICE, and                  )
STEVEN M. DETTELBACH in his official               )
capacity AS THE DIRECTOR OF ATF,                   )
                                                   )
   Defendants.                                     )

    PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED THE
   WORD LIMT FOR THEIR MOTION FOR PRELIMINARY INJUNCTION


       Plaintiffs respectfully request permission for their Motion for Preliminary

Injunction to exceed the word limit by 2,036 words, making it 7,036. The motion raises

complex and previously unexplored issues in a case of national importance, and Plaintiffs

require these extra words to adequately present these issues to the Court. They seek this

enlargement for good cause and in the interest of justice, and no party will be prejudiced if

the word limit is increases. Defendants to not oppose the request.




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Respectfully submitted,
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                            CERTIFICATE OF SERVICE

      I certify that on March 6, 2023, I filed this motion through the Court’s CM/ECF

system, which automatically served it upon all counsel of record.

                                                       /s/ Charles K. Eldred



                         CERTIFICATE OF CONFERENCE

      I certify that on March 6, 2023, I conferred with Defendants’ counsel Faith E.

Lowry, who informed me that this motion is unopposed.

                                                       /s/ Charles K. Eldred




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